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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )          Criminal No. 1:16-CR-265
                                                  )
NICHOLAS YOUNG                                    )

                           GOVERNMENT’S OPPOSITION TO
                       DEFENDANT’S OMNIBUS MOTION IN LIMINE

       Defendant Young asserts that he was entrapped into supporting terrorists and obstructing

justice, Young’s Brief at 2, 1 but moves to bar much of the government's evidence of his

predisposition to do so on the grounds or relevance or undue prejudice. His motion should be

denied. The defense in this case is based on a claim of entrapment. In light of that defense, the

evidence at issue is relevant, and its probative value outweighs the risk of undue prejudice.

                                           Background

       In December 2016, Young was indicted for attempting to provide material support to the

Islamic State ("ISIS") and obstruction of justice. In essence, the indictment alleges that, to keep

the government from learning that his friend ("Mo") had joined ISIS in November 2014 - - and

that Young was still in regular contact with him - - Young tried to mislead the FBI in December

2015 about his contacts with Mo over the previous 18 months. The indictment further alleged

that, in July 2016, Young attempted to send money to ISIS by transmitting gift card codes to an

account that Young believed was controlled by Mo.




       1
       “Young’s Brief at __” refers to “Memorandum in Support of Defendant Nicholas
Young’s Omnibus Motion in Limine,” Docket #117-1.
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       Young claims that he was entrapped. As a result, the government must show that he was

predisposed to support ISIS. As best we can tell, Young will argue that his contact with an

undercover officer known to him as “Khalil” between 2010 and 2012 contributed to his

“entrapment” in 2016. See Young’s Brief at p.1 (“the government will also attempt to prove he

had a predisposition to materially support the FTO before the criminal investigation began, in

2010 or earlier”).   As a result - - at least according to Young - - the government’s proof of

predisposition must predate his encounter with Khalil. In light of that argument, the

government’s proof of Young’s predisposition will include evidence that pre-dates 2010.

       Months ago, the government produced to the defense a draft list of its trial exhibits, many

of which will be used not only to establish Young's motive to support ISIS, but also to rebut his

claim that he was entrapped into attempting to do so. Young moved to exclude numerous of

those exhibits. Dkt. 117. That motion is not supported by the law, and should be denied.

                                             Argument

       In his moving pleading, Young cites to a variety of cases holding that various types of

evidence were inadmissible in those cases as irrelevant or unduly prejudicial. As far as we could

tell, only one of those cases involved a defense of entrapment. This distinction is vital because,

when submitted to prove predisposition, evidence of prior bad acts is not subject to the

constraints on the admission of such evidence that are ordinarily applied pursuant to Rule 404(b).

       Young seeks to have his cake and eat it too: he puts his mindset at issue by claiming

entrapment, but simultaneously claims that the government’s evidence of his mindset should be

barred as unduly prejudicial. Settled authority precludes this tactic. As the Supreme Court held

years ago, “if the defendant seeks acquittal by reason of entrapment he cannot complain of an

appropriate and searching inquiry into his own conduct and predisposition as bearing upon that




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issue. If in consequence he suffers a disadvantage, he has brought it upon himself by reason of

the nature of the defense.” Sorrells v. United States, 287 U.S. 435, 451 (1932), quoted in United

States v. McLaurin, 764 F.3d 372, 381 (4th Cir. 2014). Evidence of Young’s support for

terrorism is, therefore, admissible to rebut his own claim that his desire to support ISIS was

implanted in him by the government.

       Because Young’s arguments in support of his motion virtually ignore entrapment law,

they rest on propositions that are inapplicable to his case. As explained below, the exhibits in

question are indisputably relevant. Their probative value outweighs any risk of unfair prejudice,

and they should be admitted - - at the least - - to prove his predisposition to support terrorists.

       I.      Character Evidence Is Relevant and Admissible in Entrapment Cases

       Relevant evidence is any evidence that “has any tendency to make a fact more or less

probable than it would be without the evidence,” so long as “the fact is of consequence in

determining the action.” Fed.R.Evid. 401. All relevant evidence is admissible, except as

otherwise provided by the Constitution, by Act of Congress, or by applicable rule. Fed.R.Evid.

402. Evidence of other bad acts may be admissible to prove intent or motive. Fed. R. Evid.

404(b). Indeed, “[e]xtrinsic acts evidence may be critical to the establishment of the truth as to a

disputed issue, especially when that issue involves the actor's state of mind and the only means

of ascertaining that mental state is by drawing inferences from conduct.” Huddleston v. United

States, 485 U.S. 681, 685 (1988).

       While evidence of other bad acts may be admissible to prove intent or motive, Rule 404

generally prohibits such evidence to prove the defendant’s character - - except in cases involving

claims of entrapment. Indeed, Rule 404(b)’s requirements are relaxed when the defendant

claims entrapment. When a defendant claims entrapment, “there is no doubt that proving




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predisposition is one of the purposes for which bad-act evidence may be admissible.” United

States v. McLaurin, 764 F.3d 372, 380 (4th Cir. 2014).

       “Predisposition is itself a broad concept, and a broad swath of evidence, including aspects

of the defendant’s character and criminal past, is relevant to proving predisposition." Id. at 381.

As a result, and “[g]iven the range of evidence that is relevant to the predisposition issue, certain

bad-act evidence may be admissible under Rule 404(b) in entrapment cases that would not be

admissible in cases where entrapment is not an issue." Id. As the McLaurin panel stated:

                 Proving disposition to commit a crime is very close to proving “criminal
                 propensity,” the very type of prejudice against which the general prohibi-
                 tion on admission of evidence of other crimes is directed. In an entrap-
                 ment case, however, the issue is precisely whether the accused, at the
                 time of the government inducement, had a propensity to commit crimes
                 of the nature charged — that is, whether he was predisposed to do so.

Id. 2 Thus, "assertion of an entrapment defense does not justify admission of every bad act ever

done by the defendant, but distinguishing the unwary innocent from the unwary criminal

nonetheless requires a “searching inquiry.” Id. See also United States v. Thomas, 134 F.3d 975,

980 (9th Cir. 1998) (since character is an essential element of the entrapment defense, “even if

the proffered evidence were not admissible under Rule 404(b), we would still hold that it is

admissible [in an entrapment case] under Rule 405(b)”).

       Young’s claim that this case is just a “gift card” case, Young’s Brief at 1, is an epic

understatement of the conduct at issue. The indictment charges that Young attempted to provide

material support to ISIS, both by trying to protect an individual that he believed to be an ISIS

fighter, and also by sending money for the purpose of financing ISIS’s recruitment of other




       2
           Internal quotations and citations are omitted from quotations throughout this pleading.



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fighters. Nevertheless, even if Young’s characterization were true, his claim that this is just a

"gift card" case would not limit the predisposition evidence that would be admissible.

         When used to show predisposition in a terrorism case, the relevant prior design to commit

the crime or similar crimes need be only a rather generalized idea or intent to inflict harm on

interests of the United States. United States v. Cromitie, 727 F.3d 194, 207 (2d Cir. 2013). See

United States v. Hackley, 662 F.3d 671, 682 (4th Cir. 2011) (“Predisposition is not limited only

to crimes specifically contemplated by the defendant prior to government suggestion”). Evidence

of conduct occurring both before and after the defendant was contacted by the government is

admissible to prove predisposition. United States v. Squillacote, 221 F.3d 542, 566 (4th Cir.

2000).

         By claiming entrapment, Young asserts that his desire to support ISIS was implanted by

the government. As discussed below, evidence of Young’s support for terrorism in general (or

ISIS in specific) is relevant and admissible to disprove this assertion.

   II.      Evidence of Young’s Predisposition Is Not Unfairly Prejudicial

         Young claims that numerous categories of evidence are unfairly prejudicial. “Where the

evidence is probative, [however,] the balance under Rule 403 should be struck in favor of admis-

sibility, and evidence should be excluded only sparingly.” United States v. Lentz, 524 F.3d 501,

525–26 (4th Cir. 2008). “Evidence which tends to rebut a defendant’s claim of innocent action is

unlikely to be unduly prejudicial.” United States v. El-Mezain, 664 F.3d 467, 509–11 (5th Cir.

2011) (in a terrorist financing case, affirming the admission of videotapes of demonstrators

destroying American flags and violent images of the aftermath of Hamas suicide bombings).

         When evidence in terrorism cases is probative, it properly is admitted even though it may

be "alarming," United States v. Benkahla, 530 F.3d 300, 310 (4th Cir. 2008); "disturbing,"




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United States v. Salameh, 152 F.3d 88, 122 (2d Cir. 1998); or even “blood curdling.” United

States v. Mubayyid, 658 F.3d 35, 56 (1st Cir. 2011). This is so because such evidence is

"directly related to the nature of the crimes that the defendant has set out to commit." United

States v. Mehanna, 735 F.3d 32, 64 (1st Cir. 2013). "Terrorism trials are not to be confused with

high tea at Buckingham Palace." Id.

          In short, emotionally-charged evidence that might be barred in a different context is

admitted in terrorism cases, because such evidence is no more inflammatory than the

emotionally-charged crimes with which the defendant has been charged in the first place. See,

e.g., United States v. Abu–Jihaad, 630 F.3d 102, 132–33 (2d Cir. 2010) (“[W]e conclude that the

recorded discussions were both highly probative of the charged crime and, to the extent they

referenced uncharged contemporaneous support for jihad, no more inflammatory than the

charges alleged in the indictment.”).

          As discussed below, none of the government’s evidence in this case is more prejudicial

than the charges for which Young was indicted. Even if there were a risk of undue prejudice,

the court could cure it by instructing jurors on the purpose for which they may consider the

government’s evidence of predisposition. United States v. Sterling, 860 F.3d 233, 248 (4th Cir.

2017) (affirming this Court’s limiting instruction that effectively mitigated any risk of

unfair prejudice from prior bad act evidence).

   III.      The Government’s Exhibits Are Admissible

          In his motion, Young moves to bar admission of hundreds of separate exhibits, but

justifies their exclusion only to the extent that they fit within categories he specifies. In doing so,

he would have the Court sweep with an improperly broad brush. Individual exhibits are




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probative of motive and predisposition for multiple reasons. As a result, they are not as easily

characterized as Young suggests.

       For example, Young moves to bar the government from introducing the explosives and

components of explosives seized from his residence, as well as the approximately 19 firearms;

18,000 rounds of ammunition; 70 pieces of body armor; and 60 knives, daggers, and swords that

were seized there as well. Possession of such an arsenal surely is probative of a predisposition to

support terrorists. See, e.g., United States v. Lampley, 127 F.3d 1231, 1243 (10th Cir. 1997)

(defendant's carrying of guns was proof of his predisposition to enter a conspiracy to bomb

buildings in Texas and Alabama). Indeed, possession of that arsenal is admissible to establish

simply a motive to support terrorists regardless of any entrapment defense. United States v.

Hassan, 742 F.3d 103, 143 (4th Cir. 2014) (knowledge that his co-conspirator "was stockpiling

weapons" was probative of the defendant's involvement in a conspiracy to support terrorists). 3

       Yet, Young's possession of individual items within that arsenal is probative of his

predisposition and intent, regardless of their inclusion within the stockpile as a whole. For

example, included within the arsenal are individual weapons that also appeared in photos of

Young wearing traditional Arab or Muslim garb, and in photos of Young in the uniform of Nazi

SS Stormtrooper Klaus Dusselkamp. Among the seized weapons are knives that bear Nazi

insignia. Other knives were designed so that they can be smuggled past metal detectors; they are

relevant not only because they were parts of Young’s arsenal, but also because they lend color

and credence to Khalil’s expected testimony that Young bragged about his ability to smuggle

weapons into the Alexandria Federal Courthouse.

       3
         Young claims that he possessed this arsenal as an investor, Young’s Brief at 22, but this
is an argument as to the weight of the evidence, not to its admissibility. In any event, the 18,000
rounds of ammunition (enough to fire one round per second continuously for more than five
hours) that Young possessed does not appreciate in value.


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       In short, individual exhibits fall within multiple categories, and may be admissible for

multiple reasons. The admissibility of each exhibit merits consideration in its own right, but, in

the space of this one pleading, we cannot address all the reasons for the admissibility of each

exhibit. As a result, we can bring to the Court's attention just a handful of the exhibits that would

be barred by Young's generalized arguments. Accordingly, we request the opportunity to

address with specificity in the future the admissibility of any particular exhibit that, in light of

the present motion, the Court is inclined to bar.

       A. Evidence of Young’s Support for Nazis and White Supremacists

       Regardless of whether support for Nazis is always relevant to prove a defendant's support

for terrorists, it surely can be relevant when a defendant puts his motivation to support terrorism

at issue by claiming entrapment. As discussed below, the evidence in this case will establish that

Young supported both Nazis and ISIS, and that his motivation to do so was the hatred of Jews

that he shared with both. As a result, evidence of Young’s support for Nazis is relevant to

establish his predisposition to support ISIS. See United States v. Mahon, CR 09–712 PHX–

DGC, No. 2010 WL 4038763, at *11 (D. Ariz. Oct. 14, 2010) (holding that defendant’s

“allegiance to [white supremacist] groups that advocated violence” constituted evidence of

predisposition to commit violent crimes), aff’d, 793 F.3d 1115 (9th Cir. 2011). See also United

States v. Magleby, 241 F.3d 1306, 1319 (10th Cir. 2001) (admitting racist song lyrics on white

supremacist CD owned by the defendant in a non-entrapment case because the defendant’s state

of mind was at issue); United States v. Mostafa, 16 F. Supp. 3d 236, 260, 266 (S.D.N.Y. 2014)

(admitting defendant’s statement, “these dirty Jews, Christians, most of them homosexual




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persons,” in a non-entrapment case, but not admitting other disparaging statements on the ground

that they were cumulative). 4

       Exhibit 1 to this pleading is a report by Dr. Daveed Gartenstein-Ross, titled Report on the

Relationship Between Affinity for Nazism and Inclination to Support Militant Islamist Groups.

With a Ph.D in World Politics (and a law degree), Dr. Gartenstein-Ross has extensively

researched, written, lectured, and taught about Islamist militancy and terrorism; white separatists

and Neo-Nazis, and radicalization processes. Exhibit 1, at 1-9. 5

       As detailed in Dr. Gartenstein-Ross’s report, the mechanisms of radicalization that attract

individuals to neo-Nazism and to militant Islam are highly similar. Exhibit 1, at 10-18. The

report also details multiple areas of convergence and ideological similarities between Nazi and

Islamist militant movements, and the historical precedent for this convergence. Id. at 18-22.

The report details the centrality of Jew-hatred to both movements, and discusses numerous cases

where extremists motivated by hatred of Jews, like Young, embraced both ideologies

simultaneously, or moved fluidly from one to the other. Id. at 23-39.

       The report also explains that, when individuals convert to Islam after having been

immersed in or attracted to Nazism, they often dive right into the extremist end of the spectrum

of Islamic ideology. In short, in Exhibit 1, Dr. Gartenstein-Ross explains why evidence of an



       4
         Young characterizes the decision in United States v. Bowman, 302 F.3d 1228 (11th Cir.
2002), as “reversing trial court over inclusion of ‘white pride’ t-shirt.” Def. Br. at 19. To the
contrary, the decision affirmed the conviction, and no such t-shirt is discussed in the opinion.
The Eleventh Circuit did agree that evidence of a motorcycle club’s whites-only policy was not
admissible evidence, because the defendant's “allegiance to a racist organization is not relevant
to his guilt or innocence in this case.” Id. at 1239. In contrast, Young’s entrapment defense
renders his own allegiances very much at issue.
       5
         As a convert to Islam, Dr. Gartenstein-Ross’s first book, My Year Inside Radical Islam,
was about his time employed by the American branch of a Saudi charity that was designated by
the United States as a provider of financial and material support to al-Qaeda. Exhibit 1, at 2.


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individual’s attraction to Nazism is related to the question of whether that individual is

predisposed to supporting Islamist terrorists. Id. at 35.

       In this context, evidence of the relationship between Naziism and radical Islamists, as

well Young’s attraction to Nazis, is probative of whether Young's support for ISIS was

implanted in him by the government, or the product of his own predisposition to support

terrorists that hate Jews just like he does. This includes evidence of Young's involvement with

Nazis and radical Islam at the same time.

       Exhibit 2 consists of trial exhibits that are probative of Young's intense interest in

terrorism - - of the Nazi variety. These include:

               Government Exhibit (“GX”) 10-220, two slides found in Young's computer,
               explaining that the lightning bolt symbol of the SS is "used in various tattoos
               mainly by the Neo-Nazi and Racist skinheads" and "characterizes the belief of
               these extremist groups in Anti-Semitism, White Supremacy, and Fascism." While
               possession of such slides obviously does not establish one to be Nazi sympathizer,
               such possession is probative of whether the owner understands the symbolism of
               the SS lightning bolts;

               GX 10-701, a book seized from Young's residence, titled "The SS: Hitler's
               Instrument of Terror", with the SS lightning bolt symbol on its cover. Again,
               possession of such a book obviously does not establish one to be Nazi
               sympathizer, but such possession is probative of whether the owner understands
               the nature of the Nazi SS;

                GX 3-110, a tie-tac seized from Young's truck in August 2016, in the shape of
               the Nazi SS lightning bolt symbol;

               GX 10-903, a photo first saved on his home computer in 2007, showing Young in
               his Nazi SS uniform and holding a pistol;

               GX 10-905, a photo first saved on his home computer in 2007, showing Young
               and his associates in their Nazi SS uniforms in front of a Nazi flag;

               GX 10-907, a photo of Young in his Nazi SS uniform, with his “death's
               head” logo;




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               GX 4-300, a booking photo of Young's arm tattoo taken after his arrest in
               August 2016, showing the official insignia of the 9th SS Panzer Division
               “Hohenstaufen;” 6

               GX 10-714, a flag seized from Young's house, known as the "reichskriegsflagge,”
               and typically used by Neo-Nazis. 7 Use of this flag by Neo-Nazis stems from its
               earlier use by the Freikorps, a precursor of the Nazis that, following World War I,
               sought to use brutality against their enemies in Germany (particularly Jews) as
               political expression. Many Freikorps officers became prominent Nazi officials,
               including Rudolf Höss, a commander of the Auschwitz concentration camp; 8

               GX 11-400, a photo of Young' truck, with the license plate "FRI-KRP," a
               reference to the Freikorps; 9 and

               GX 10-459 and GX 10-495, two of the approximately 50 knives seized from
               Young's house; these knives bear the Nazi swastika and eagle. 10

       Exhibit 3 includes GX 13-105, a book found in Young's residence in 2016. The book,

Serpent's Walk, is by a leader of the American Neo-Nazi movement known as the National

Alliance, and is about an underground Nazi revolutionary movement (led by the SS) to reverse

the results of World War II. In short, the book is propaganda for the National Alliance. Trial


       6
         See, e.g., Patrick Hook, Hohenstaufen: 9th SS Panzer Division (Surrey, UK: Ian Allan
Publishing, 2005).
       7
         Anti-Defamation League, “Imperial German Flag” (n.d.), available at
https://www.adl.org/education/references/hate-symbols/imperial-german-flag.
       8
        See, e.g., http://www.nytimes.com/1987/06/21/books/the-women-they-feared.html;
Robert Gerwarth, “The Central European Counter-Revolution: Paramilitary Violence in
Germany, Austria, and Hungary after the Great War,” Past and Present 200:1 (2008), pp. 179-
81.
       9
          Also visible in the photo is the bumper sticker on Young’s truck that states “Boycott the
Terrorist State of Israel.”
       10
           Young’s suggestion that he was merely a participant in World War II reenactments
goes to the weight of the evidence, but not their admissibility. In any event, Young did not
merely assume the identity of an ordinary soldier in the German army, but that of a member of a
Nazi SS unit, with the “death’s head” insignia on his headgear. Moreover, as some of the
exhibits attached to this pleading establish, he did not assume the Dusselkamp identity solely for
the purpose of participating in battle reenactments.



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evidence will show that, in approximately 2010, Young gave another copy of that same book to a

friend.

          Exhibit 3 also includes GX 10-862 and GX 10-863, both seized from Young's residence

in 2016. GX 10-862 is a pamphlet titled "Who Rules America," and published by National

Vanguard Books, the publishing arm of the National Alliance. In the pamphlet, William Pierce

(the actual author of Serpent's Walk) argues that "there is nothing - - plague, famine, economic

collapse, even nuclear war - - more dangerous to the future of our people" than the "Jewish

control of the American mass media."

          Serpent's Walk and Who Rules America are probative of Young's interest in terrorism - -

of the Neo-Nazi variety. As such, they are admissible to show his predisposition to support

terrorism. See United States v. Siraj, No. 07–0224–CR, 2008 WL 2675826 at *2 (2d Cir. July 9,

2008) (affirming admission into evidence of books and videos recommended by the defendant

despite claims that they were unduly prejudicial).

          In Siraj, the defendant ("Matin") claimed that he was entrapped into a conspiracy to

support terrorism. He argued that the probative value of books the government sought to

introduce at trial was outweighed by their prejudicial value, but the district judge rejected his

argument. On appeal, the Second Circuit agreed that the books were properly admitted, on the

grounds that, "[t]o the extent that Matin recommended the books, they were relevant to show

predisposition; and to the extent the books were for sale in the shop where Matin worked, they

tended to rebut Matin's assertion that the cooperating witness first exposed him to radical Islam

and violent jihad." Id. The same reasoning applies to the books and videos that Young gifted,

recommended (on Facebook or otherwise) or simply maintained in his possession.




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        GX 10-863 is a flyer depicting two Klansmen burning a cross, with the caption,

"Burning Cross Records, Your Newest White Power Music Source." Notwithstanding the

relevance of the flyer inherent in Young's possession of it in 2016, its admission also will

corroborate the testimony of a witness who is expected to testify about Young's ideological

journey after college, including that he observed Young listening to "white power" music.

       Evidence at trial will include evidence of Young's support for terrorism based on the

convergence of the Jew-hatred commonly espoused by Nazis and radical Islamists. We expect to

present testimony from a former friend of Young that, after attending a gathering of Neo-Nazis

in approximately 2000, Young said words to the effect of "don't discount an alliance with

Muslims to combat the Jews."

       Exhibit 4 includes selected exhibits that, along the same lines, we expect to introduce to

establish Young's interest in the convergence of Nazis and Islamists. Many of these involve Haj

Amin al-Husseini, the Mufti of Jerusalem during World War II. As noted in Exhibit 1 (at page

33), “Perhaps no other figure did more to foster ties between rightwing extremism and militant

Islam." As explained by Dr. Gartenstein-Ross, Husseini made pro-Axis radio broadcasts to the

Arab world in which he implored Muslims to aid the Nazi slaughter, and stressed the ideological

affinities between German National Socialism and Islam. In one broadcast, he urged Muslims to

“kill the Jews wherever you find them. This pleases God.” Exhibit 1, at 34.

       Exhibit 4 includes GX 10-231, a photo of al-Husseini with Hitler, that was saved on

Young's computer media in 2007. As explained in the report of Dr. Gartenstein-Ross, during the

meeting with al-Husseini, Hitler assured him of the Nazis’ commitment to exterminating the

Jews, and promised eventually to make Husseini the “Arab führer.” Exhibit 1, at 34.




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       Following the meeting with Hitler, Husseini played an important role for the Nazis. In

1943, he helped organize the 13th Waffen Mountain Division of the SS Handschar, a volunteer

force composed predominantly of Bosnian Muslims. Exhibit 1, at 34. Exhibit 3 includes GX

10-232 and 10-240, photos found in Young's media, of Husseini inspecting the Muslim SS

troops. GX 10-238 and GX 10-237 also were found in Young's media; the former shows Muslim

SS troops, and the latter shows them reading a booklet authored by Husseini, "Islam und

Judentum." According to Dr. Gartenstein-Ross, that booklet was intended to inspire Muslim SS

units, and promote their involvement in the Jewish genocide. Exhibit 1, at 34.

       Exhibit 4 also includes GX 10-230, a poster saved to Young's computer media in

December 2007. Depicting Husseini shaking hands with a Nazi, the poster bears the words

(translated into English), "Worldwide Association of Nazis and Islamists." The poster is not a

collector's item from World War II; according to the poster, the alliance started in 1939, but it

was still active as of 2004. Also in Exhibit 4 is GX 8-107, which is a screenshot from Young's

Facebook page (in the name of Ciaphas Cain) referencing Mohammad Amin al-Husayni. 11

       Exhibit 5 is GX 14-180, a partial list of the websites that Young had bookmarked on his

home computer in 2011. Listed chronologically, the list shows that, during the same time period

that Young bookmarked websites related to Jew-hatred, Neo-Nazis, and Hitler, he also

bookmarked websites related to Bin Laden, Anwar Awlaki, and other radical Islamists. 12




       11
            Of all of Young's materials related to Husseini, none reflected any context other than
his relationship to Hitler, Nazis, and the Muslim SS troops that Husseini recruited.

       12
          One bookmark was to a webpage regarding Alois Brunner, a Nazi who converted to
Islam. As detailed on the webpage bookmarked by Young, Brunner had been an assistant to
Adolf Eichmann, and an SS officer responsible for sending around 100,000 Jews to
concentration camps.



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       Exhibit 6 consists of GX 8-108 and GX 8-109, reflecting that Young linked his Facebook

page to a news article about the 2011 arrest in Pittsburgh of Emerson Begolly, an American Neo-

Nazi who converted to Islam and called on-line for Jews to be slaughtered. Begolly, who was

sentenced to 102 months in prison for soliciting crimes of violence, is a subject of Dr.

Gartenstein-Ross's report. See Exhibit 1, at 24.

       Exhibit 7 consists of the juxtaposition of GX 14-113 and GX 14-114, which show Young

in his SS uniform before a Nazi flag (and his colleagues performing a "sieg heil" salute) in

photos saved to his computer media on January 28, 2006, and GX 14-117 and GX 14-119, which

show Young dressed in Muslim garb in photos saved to his computer five days later. In GX 14-

119, Young is holding a rifle.

       Proof at trial will show that Young manifested his support for Naziism at the same time

as he manifested his support for ISIS. For example, when Young created an email account in

October 2014, in order to be able to communicate covertly with "Mo" (who Young believed

would be serving with ISIS in Syria), Young set it up under the name under the name

"Essakobayashi." Required to provide the internet service provider ("ISP”) with a date of birth

in order to create the new account, Young provided Hitler's birthday: 4/20/89. Exhibit 8

includes GX-100 and GX 6-109-5T; the former is the ISP record reflecting the date of birth that

Young used, and the latter is the transcript of the part of the conversation in which Young told

Mo that Young using Hitler's birthday as the birthdate for "Essakobayashi."

       Exhibit 8 also includes GX 4-203, a graphic found on the phone seized from Young

incident to his arrest. Describing it as stating, over a picture of billowing smokestacks, that




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"Together we can finish what Hitler started" does not do it justice, so we include it here (in color,

as it was found on Young’s phone):




       Exhibit 8 further includes:

               GX 14-107, a photo found in Young's computer media in 2011 and again in 2016,
               showing obviously Muslim women marching with a sign stating "God Bless
               Hitler";

               GX 10-700, a photo of a framed portrait of Hitler found in Young's residence in
               August 2016; and

               GX 10-711: two posters found in Young's residence in August 2016, with a photo
               of Hitler and the words, "When I come back, no more Mr. Nice Guy."

       Also included Exhibit 8 are GX 10-814 and GX 10-815. GX 10-814 is a document found

among Young's possessions in August 2016, which appears to contain a list of people for whom

he prayed. Along with members of his family, friends, and co-workers, the list includes five

leaders from modern times: Hitler, Mussolini, Saddam Hussein, Haj Amin Al-Husaini, and

"Skorzeny." GX 10-815 is a photo of Skorzeny found in Young's computer media.

       As Dr. Gartenstein-Ross explains, Otto Skorzeny was a Nazi who fled Germany for

Egypt after the fall of Hitler, and later organized Palestinian terrorist forays into Israel. Exhibit


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1, at 34. According to his Wikipedia entry, Skornezy was believed to have set up an

organization that helped hundreds of SS war criminals escape from Germany after Nazi

Germany fell. See https://en.wikipedia.org/wiki/Otto_Skorzeny.

       Exhibit 9 consists of selected trial exhibits that are probative of the hatred for Jews that is

a common link between Young's support for Nazis and his predisposition to support ISIS.

GX 11-401 is a photo of the Israeli flag that Young used as a doormat for the entrance to his

residence. The following exhibits were saved in Young’s computer media:

               GX 10-250, a cartoon with Arabic writing and depicting the
               American military as under the whip of a crazed Jew;

               GX 10-251, a cartoon with Arabic writing and depicting
               Colin Powell as a puppet of a stereotypical Jew;

                GX 10-252, a cartoon depicting a pig with the face of a
               stereotypical Jew, titled "Jewish Swine"; and

               GX 14-138, a picture of a swastika imposed on an Israeli flag,
               with the caption "The Greatest Devil”.

       Exhibit 10 consists of trial exhibits that are probative of Young's affiliation with Nazism

and his support for ISIS at the same time, including:

               GX 706, a (redacted) roster of "5 Kompanie B 19. Panzergrenadier Rgt.,
               reflecting that Young's alias on that roster was Stormtrooper Klaus Dusselkamp:

               GX 8-500, screenshots of the Liveleak website, showing that "Dusselkamp"
               created the channel in 2007, and posted on it as late as May 7, 2015; and

               GX 8-501, screenshots of the Liveleak website, showing that "Dusselkamp"
               justified the burning alive by ISIS of the captured Jordanian pilot.

In short, the evidence sampled above shows that Young’s support for Nazis was intertwined with

his support for Islamic extremists, and that both were motivated by hatred of Jews.

       Young claims that the Nazi materials should not be admitted because the government

seized only Nazi-related materials from his house, and did not seize other collectibles that Young



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possessed. Whether the government cherry-picked Young’s Nazi paraphernalia is a matter for

argument at trial, and does not bear on their admissibility. We expect, however, that the

evidence will show that (1) the only foreign leader whose birthdate Young used for his own

contact information was Hitler; (2) the only framed portrait of a foreign leader from modern

times that Young had in his house was Hitler’s; (3) the only historical identity that Young used

for postings on Liveleak in support of ISIS was Stormtrooper Klaus Dusselkamp; and (4) the

only leaders from modern history included on Young’s prayer list were Hitler, Mussolini, and

Saddam Hussein. 13

       Young’s claim that the government’s evidence of his adherence to Nazi ideology is

unduly prejudicial also must fail. Courts routinely admit evidence more prejudicial than that

which Young challenges, including defendants’ prior convictions and even serious uncharged

crimes. See, e.g., McLaurin, 764 F.3d at 382-84 (upholding admission of defendants’ prior

robbery conviction and firearm possession to prove their predisposition). See also United States

v. Abu–Jihaad, 630 F.3d 102, 132–33 (2d Cir. 2010) (upholding admission of bad-act evidence

over Rule 403 objection because evidence was “no more inflammatory than the charges alleged

in the indictment”).

       Young also argues that evidence of his pre-2010 adherence to Nazi ideology is not

necessary because the government possesses evidence of his post-2010 adherence to ISIS

ideology. Young’s entrapment defense undercuts the logic of this argument as well. After all,

Young asserts that the government must prove his predisposition before Young met Khalil in

2010 - - and ISIS was not even formed until 2014. To the extent that evidence of predisposition

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           In light of Young’s argument that the seized Nazi material was only a fraction of his
memorabilia collection, the volume and scope of the seized material is at issue. As a result, none
of the Nazi material could be cumulative; all is relevant and necessary to rebut Young’s claim
that the Nazi-related exhibits were cherry-picked from a bigger collection of memorabilia.


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before 2010 is essential to refute Young's entrapment claim, evidence of his adherence to Nazi

ideology before 2010 is necessary to show predisposition. United States v. Queen, 132 F.3d 991,

998 (4th Cir. 1997) (evidence is necessary where, considered in the “light of other evidence

available to the government,” it is an “essential part of the crimes on trial, or where it furnishes

part of the context of the crime”).

       The cases upon which Young relies do not support the outcome he seeks because

virtually none are entrapment cases. Cases actually involving entrapment show the weakness of

his argument. See, e.g., United States v. Mohamud, 843 F.3d 420, 434 (9th Cir. 2016) (affirming

admission of evidence that the defendant supported Osama Bin Laden and the September 11

attacks); United States v. Cromitie, 727 F.3d 194, 212-13 (2d Cir. 2013) (affirming admission of

evidence that the defendant wanted to bomb a police car); United States v. Siraj, 2008 WL

2675826 (2d Cir. July 9, 2008) (affirming admission of extremist videos); United States v.

Higham, 98 F.3d 285, 291 (7th Cir. 1996) (affirming admission of defendant’s threat to ‘blow a

hole through” a victim); United States v. Mahon, No. 2010 WL 4038763, at *11 (D. Ariz. Oct.

14, 2010) (admitting evidence of the defendant’s allegiance to violent white supremacist groups),

aff’d, 793 F.3d 1115 (9th Cir. 2011).

               B.      Evidence of Young’s Prior Transfer of Funds
                       Overseas in Furtherance of Unlawful Conduct

       Exhibit 11 consists of documents seized from Young's residence in August 2016 that

establish that, long before he met a government agent, he transmitted money overseas under fake

names or from a fake address. GX 10-802 is a Western Union receipt from October 21, 2005,

reflecting the transfer of $450 to Zdravko Stefanov Daskalov ("Zdravko") in Bulgaria, by

Nicholas Young. The Western Union document reflects that, on that occasion, Young specified

on the form his actual name and address.



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       GX 10-801 is another Western Union receipt, from October 30, 2008, reflecting the

transfer of $380 by Young to Zdravko. This document reflects that, this time, Young specified

as his address as the fictional address of 11881 "Hellbreak" Avenue in Fairfax, Virginia. GX 10-

803 is a third Western Union receipt, from August 15, 2013, reflecting the transfer of $812 to

Zdravko by "Simon Belmont." GX 10-804 is an email, dated May 12, 2004, from Zdravko to

"Rudolph Van Waldron," regarding a shipment of drugs for $134.

       The relevance of these exhibits is not that they show that Young purchased illegal drugs

(we make no claim about the legality of the purchases). Their relevance, instead, is that, long

before Young met any government agent, he used fake names and a fake address to transmit

money overseas in the course of transactions about which he did not want the government to

know. Indeed, his transmittal of funds under fake names or from a fake address between 2008

and 2014 is admissible evidence of his predisposition to send money to ISIS through the

Threema Application (“the Threema App”) in 2016. To the extent that this evidence is

“prejudicial” because it involved the purchase of drugs, any risk of prejudice could be mitigated

by a limiting instruction.

       C. Evidence of Possession and Dissemination of ISIS and Al Qaeda Propaganda

       The videos and images of ISIS and al-Qaeda propaganda that Young possessed are

central evidence of Young’s predisposition to support ISIS. In addition to evidence of videos

and images seized from his residence and computer media, testimony at trial will establish that,

in 2014, Young showed Mo an extremist video, and that in May 2015, Young linked a jihadi

video ("Screw Infidels") to his Facebook page. Such evidence is admissible to show Young's

intent. United States v. Hassan, 742 F.3d 104, 142 (4th Cir. 2014) (in a terrorism prosecution




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not involving entrapment, evidence posted by defendant Yaghi on Facebook promoting his

radical and violent jihadist beliefs supported his conspiracy convictions).

       As the Fourth Circuit wrote in Hassan, "Hassan's nefarious intentions were substantiated

when, in January 2009, he instructed his paramour to remove his postings on his Facebook page

as well as postings on ‘Muslim Gangsta For Life,’ which endorsed his radical ideology.” The

"Screw Infidels" video that Young posted on his Facebook page is analogous to the "Muslim

Gangsta for Life" posts that Hassan posted on his own Facebook page. Id. at 145.

       Given Young’s entrapment defense, the ISIS and al-Qaeda videos and images that he

possessed are indisputably relevant. See United States v. Mehanna, 735 F.3d 32, 62 (1st Cir.

2013) (“[T]he government's case depended on proving that the defendant's actions emanated

from views that, over time, had aligned with al-Qa'ida's. The media that he consumed en route to

forming those views is a salient part of the story.”); United States v. Siraj, No. 07–0224–CR,

2008 WL 2675826, at *2 (2d Cir. July 9, 2008) ("testimony regarding a videotape Matin had

given to the cooperating witness . . . was relevant to the question of inducement because it

showed that Matin was already well acquainted with the type of violent and graphic material he

claims the cooperating witness used to entrap him"). Young does not suggest otherwise, and

claims solely that the videos and images are unduly prejudicial and that written descriptions

suffice. The law is to the contrary.

       For example, in United States v. Mohamud, 843 F.3d 420, 434 (9th Cir. 2016), the Ninth

Circuit agreed that, to rebut an entrapment defense, the government was entitled to introduce

evidence that the defendant supported Osama Bin Laden and the September 11 attacks, and

possessed a magazine aimed at American jihadists. In United States v. El-Mezain, 664 F.3d 467,

509-11 (5th Cir. 2011), the Fifth Circuit agreed that, to rebut the defendants' denial that they




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supported Hamas, the government was entitled to introduce evidence seized from the defendants’

offices, including images of violence and videos glorifying Hamas and depicting Hamas leaders.

Id. at 509–11. 14

        Similarly, in Young’s case, evidence of ISIS videos serves a vital purpose: to rebut his

claim that he was not predisposed to support ISIS. As the court in El-Mezain concluded, the

high probative value of this evidence outweighs the risk of undue prejudice to Young. 15

        Young cites United States v. Abu-Jihaad, 553 F. Supp. 2d 121, 128 (D. Conn. 2008), as a

decision “excluding mujahideen fighting videos insofar as they contained extreme violence,

bloody bodies and mutilation.” Def. Memo at 43. Abu-Jihaad is not an entrapment case, but

Young’s characterization of it is misleading anyway. There, the court admitted videos depicting

“fighting between the mujahideen and Russian troops, replete with numerous explosions,

shootings, and dead soldiers as well as Muslim fighters,” and “glorify[ing] martyrdom and also

the killing of non-believers.” Abu-Jihaad, 553 F. Supp. 2d at 128. While the court did direct the

government to edit the videos to remove some particularly gruesome images, it held that “it is

difficult—if not impossible—for the Government to give the jury an accurate sense of the nature




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           Like Young, the defendants in El-Mezain engaged in terrorist financing but not terrorist
violence themselves. “Although this case relates to terrorism, it does not involve charges of
specific terrorist acts. Instead, it focuses on the defendants’ financial support for terrorism and
terrorist ideology.” El-Mezain, 664 F.3d at 483.
        15
          In so holding, the El-Mezain court rejected the defendants’ undue prejudice
objections, which relied on United States v. Al–Moayad, 545 F.3d 139 (2d Cir. 2008) - - a case
that Young also cites. In Al–Moayad, the court held that testimony from a victim of a Hamas
bomb attack on a bus and images of the aftermath of the attack were not admissible under Rule
403. The court reached that ruling because the government offered this evidence to show the
defendants’ knowledge that Hamas engaged in terrorist activity, even though the defendants
never denied such knowledge. 545 F.3d at 160. In Young's case, however, the issue in this case
is not whether he knew that ISIS engaged in terrorist activity - - because he indisputably did - -
but whether he supported such activity.


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of these videos without playing for the jury some of the violent and graphic portions of the

videos. Otherwise, the jury would have an inaccurate sense of their content.” Id.

       On appeal, the Second Circuit upheld the admission of the videos, holding that

“[a]lthough these excerpts included depictions of violence, as was necessary not to distort the

sense of the films as a whole, the depictions were limited and, as the district court accurately

observed, less gruesome than many seen on nightly news dispatches from Baghdad.” United

States v. Abu-Jihaad, 630 F.3d 102, 133–34 (2d Cir. 2010) (also holding that extremist material

from websites the defendant visited was properly admitted). Accord United States v. Pugh, 162

F. Supp. 3d 97, 117–18 (E.D.N.Y. 2016) (in a non-entrapment case, admitting edited videos of

ISIS executioners, because the “nature and content” of the videos spoke strongly to the

defendant’s “state of mind"). Given this precedent and the fact that Young has elected to pursue

an entrapment defense, the ISIS and al-Qaeda videos and images are properly admitted to show

Young’s predisposition.

       D.   Evidence of Young’s Possession of Islamic Nasheeds and White-Power Music

       Young argues that the government should be precluded from playing his music on

grounds of relevance and prejudice. He suggests that, at most, the relevance of the music would

lie in the fact that he possessed it. Young’s Br. at 24. We plan to introduce evidence that Young

possessed certain music, but do not seek to play any. Exhibit 12 contains GX 10-304, a photo of

Young's iPod, which reflects that, among Young's music selections, were "ISIS Techno Remix"

and "Jihad Nasheed." That evidence surely is probative of his predisposition. See , e.g., United

States v. Magleby, 241 F.3d 1306, 1319 (10th Cir. 2001) (finding that probative value of racist

song lyrics on white supremacist CD owned by the defendant outweighed prejudicial effect and

were properly admitted in civil rights case because defendant’s state of mind was at issue).




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       E. Young’s Statement of Desire to Join ISIS in Order to Obtain a Slave

       Young seeks to bar evidence of his desire to acquire a slave. That evidence is admissible

because, troubling as it may be, the prospect of obtaining a slave was one of Young’s

motivations for supporting ISIS. See United States v. Mostafa, 16 F.Supp.3d 236, 258, 268

(S.D.N.Y. 2014) (evidence that the defendant justified enslaving captives was admissible even in

a case not involving entrapment). As the court found in Mostafa, Young’s own statement is

admissible because it is “no more prejudicial than that with which he has already been charged.”

Id. at 258. By claiming entrapment, Young placed his intent at issue, and his own statements are

admissible to prove his intent.

       In addition to showing Young's predisposition, the evidence of Young's desire to acquire

a slave is admissible because it is inextricably intertwined with evidence of other

communications that Young had with Mo. 16 As the Fourth Circuit has explained, “evidence of

uncharged other acts is intrinsic and not subject to Rule 404 if the acts arose out of the same

series of transactions as the charged offense or if the evidence of the uncharged conduct is

necessary to complete the story of the crime on trial.” United States v. Day, 700 F.3d 713 (4th

Cir. 2012). Such evidence is direct evidence of a crime.

       Much of the evidence to which Young objects is inextricably intertwined with the

evidence of the offenses charged against him. For example, Exhibit 13 reflects that Young used

the Threema App on July 30, 2016, to tell Mo about Young's desire to acquire a slave 17 - - and



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           More precisely, the evidence of Young’s desire to acquire a slave is admissible
because it is inextricably linked with evidence of other communications that Young had with the
accounts that were controlled by the FBI - - but which Young thought were controlled by Mo.
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           "To be honest, I would like to buy a slave. . seriously, lol, but I heard the supply is low.
. inshallah a large crop of Alawi women will fall into the hands of the mujahideen."



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then immediately wrote that the local mosques were "corrupt" because they preached that "the

jihad is within ourselves, jihad of the pen, blah blah blah, the usual emotional stuff, zero

evidence." Young’s derogation of the local mosques as “corrupt” because they did not interpret

“jihad” necessarily to entail violence surely is probative of his predisposition to support ISIS - -

but that derogation exists on the same screen shot that contains the statements that he made about

desiring a slave in the same message. Further, as seen in Exhibit 10, GX 8-504, under the

identity of "Dusselkamp," Young posted on Liveleak in December 2014, his agreement that

mujahideen were authorized to take "wives" from among their captives. Regardless of how

disturbing they are, Young’s relevant statements about slaves simply cannot be disentangled

from his other relevant statements, and are intrinsic to the case against him.

       F.      Young’s Statement of Desire to Kidnap and Torture an FBI Agent

       Young challenges the admission of his statements to Khalil that he wanted to kidnap and

sexually torture a female FBI special agent who previously interviewed him. These statements

evidence his intent and are probative of predisposition.

       In addition to proving Young’s predisposition, this evidence is relevant for several related

reasons. First, Young asserts that this prosecution is the continuation of an unfair focus on him

that started in 2011 - - but Khalil’s report to the FBI regarding Young’s stated desire to kidnap an

FBI agent was (not surprisingly) a factor in triggering that focus; to the extent that Young argues

that the focus on him was unfair, we must be permitted to provide the context for that focus.

       Second, in light of Young’s claim of entrapment, Khalil’s credibility is at stake. Khalil’s

credibility is enhanced, however, by the fact that the FBI found on Young’s computer a

photograph of the agent that (Khalil reported that) Young said that he wanted to kidnap. Third,




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Young’s musings about kidnapping and sexually torturing the agent is akin to his musings about

attacking FBI generally, and corroborates other testimony on that point.

       Statements of defendants’ desire to attack law enforcement are routinely admitted to

prove their predisposition. See, e.g., United States v. Cromitie, 727 F.3d 194, 212-13 (2d Cir.

2013) (holding that defendant’s statement, “I would actually like to put a fucking bomb in the

back of a cop car while he’s sitting in the motherfucker and watch him just explode, I would be

the most happiest person in the world,” was properly admitted to prove predisposition in case

where defendant claimed entrapment. See also United States v. Hassan, 742 F.3d 104, 143 (4th

Cir. 2014) (in a terrorism prosecution not involving entrapment, discussions regarding the

kidnapping of a Marine officer supported the defendant's terrorism conspiracy conviction);

Mostafa, 16 F. Supp. 3d at 267, admitting defendant’s statements evincing a desire to kidnap

non-Muslims). Because Young’s statements to Khalil about kidnapping an FBI agent has

significant probative value, it should admitted to establish predisposition.

       G.      Evidence of Prior Statements About Attacking Law Enforcement, Violence
               Against Informants, Firearms Training, and Counter-Surveillance Measures

       Young also moves to exclude several instances of his statements and conduct which are

relevant and should be admitted to prove his predisposition. These include:

       a) Suggesting that he and Khalil pour gasoline on FBI cars and light them;

       b) Recounting to Khalil how Young aimed a rifle out of the window of his residence
          while scanning for law enforcement;

       c) Telling Khalil that someone with Young’s skills could attack the FBI; and

       d) Describing to Khalil a method by which Young could smuggle weapons into the
          Alexandria Federal Courthouse so that they could be passed to confederates
          undetected.




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All properly should be admitted as evidence of predisposition. Cromitie, 727 F.3d at 212-13

(statements of desire to bomb police car, airport, and synagogue were proper evidence of

predisposition); United States v. Hassan, 742 F.3d 104, 143 (4th Cir. 2014) (in a terrorism

prosecution not involving entrapment, discussions regarding how a person could easily gain

entry into an American military facility as a truck driver supported defendant’s conviction).

       Prior threats of violence - - such as Young’s statement to Khalil that, if he ever were

betrayed by someone, that person’s life expectancy would be greatly diminished - - also properly

should be admitted to show predisposition. See, e.g., United States v. Higham, 98 F.3d 285, 291

(7th Cir. 1996) (upholding admission of evidence of defendant “putting gun in the side of a man

and threatening to ‘blow a hole through [him]’” to prove predisposition in prosecution of

defendant for hiring someone to commit murder for him).

       Finally, Young’s consciousness of government surveillance - - such as Young’s statement

that he was wary of government surveillance, his aiming an AK-47 style rifle out of the window

of his residence while scanning for law enforcement, and his possession of disposable cell

phones - - also is properly admissible to show his predisposition. See, e.g., United States v. Ham,

944 F.2d 902 *2 (4th Cir. 1991) (Table) (upholding admission of evidence to prove

predisposition that defendant’s residence was found stocked with attack dogs, five firearms, and

a surveillance camera); United States v. Gonzalez, 19 F.3d 1169, 1173 (7th Cir. 1994) (citing, as

evidence of predisposition, defendant’s detection of government surveillance). 18



       18
            With respect to additional items listed by Young in his motion, animal abuse and a
traffic ticket were part of conversations that Young had with Khalil. To refute allegations that
Khalil entrapped him, Khalil should be able to testify as to all of their conversations. That being
said, we do not plan to introduce the ticket itself in our case-in-chief. With respect to sexual
preference, we do not plan to present evidence on that topic (aside from possibly presenting
testimony on other subjects from witnesses who were Young's ex-girlfriends).


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                                            Conclusion

       “[I]if the defendant seeks acquittal by reason of entrapment he cannot complain of an

appropriate and searching inquiry into his own conduct and predisposition as bearing upon that

issue. If in consequence he suffers a disadvantage, he has brought it upon himself by reason of

the nature of the defense.” Sorrells v. United States, 287 U.S. 435, 451 (1932), quoted in United

States v. McLaurin, 764 F.3d 372, 381 (4th Cir. 2014). Evidence of Young’s predisposition to

support terrorism is, therefore, admissible to rebut his own claim that his desire to support ISIS

was implanted in him by the government.

       For the foregoing reasons, Young’s motion in limine should be denied.

                                                      Respectfully submitted,

                                                      Dana J. Boente
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                                              By:                    /s/
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                                          Certificate of Service

       I hereby certify that on October 10, I electronically filed the foregoing

GOVERNMENT=S OPPOSITION TO OMNIBUS MOTION IN LIMINE with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing (NEF) to counsel

of record.



                                                              /s/
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